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- Case 1:21-cv-00202-CCB Document 1-2 Filed 01/25/21 Page 1o

2 hropshire. Tpab eae 37037
Department of Public Safety and Correctional Services

Division of Pretriat Detention and Services

Chesapeake Detention Facility
401 EAST MADISON STREET, BALTIMORE, MARYLAND 21202 ,
(410) 530-5445¢ FAX (410) 332-4564 » TOLL FREE (877) 378-8836 + VITTY (890) 735-2059 « www.doscs. manviand.gov

 

STATE OF MARYLAND

“GOVERNGA e KH C Ar. ¢ f

Bown RUTHERFORD To: Detainee Antonio Shropshire #2300324

LT. GOVERNOR
STEPHEN T. MOYER -T?
Becher FROM: Lieutenant Pettus EB th p

DEPUTY ee vART DaTE: NOVEMBER 20, 2017

ADMINISTRATION

RE: Informal Complaint #458 (Legal Mail)

J. MICHAEL ZEIGLER

 

OEPUTY SECRETARY
OPERATIONS
HEAL. HARAIS XM] FY] FOR YOUR APPROVAL RESPOND Forwarp HANDLE OTHER:
ASSISTANT SE aRETARY & C] Uy O QO O
CHIEF OF STAF

Detainee A, Shropshire,
GAVID N. BEZANSON
CAPITAL Pree eran According to Informa] Complaint #458: concerning legal mail that was confiscated by
Lieutenant Harcum on Friday, October 13,2017. Mr. D. Ashton (United States Marshali
MICHAEL A. RESNICK, ESO Services) has confirmed that your confiscated documentation has been turned over to the Federal

COMMISSIONER ‘ . . . aye
Marshall Services. This Process is out of the hands of the Chesapeake Detention Facility.

LEON A KING, ESO,
DEPUTY COMMISSIONER
